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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                   EASTERN DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )       Case No.: 1:17-cr-10004-STA
                                                     )
MONTEITH HALEY,                                      )
                                                     )
       Defendant.                                    )


             ORDER ON SEALED MOTION TO CONTINUE SENTENCING HEARING


       THIS cause came on to be heard before the Honorable S. Thomas Anderson, Chief

Judge of the United States District Court for the Western District of Tennessee, upon Sealed

Motion of the Defendant for a continuance of his sentencing hearing.

       It is THEREFORE ORDERED, ADJUDGED, and DECREED that the Sentencing hearing

be rescheduled to May 14, 2018 at 1:30 P.M.

       Counsel for the defendant is directed to file a corrected Certificate of Consultation

regarding this motion, as the certificate attached to the motion references an incorrect

defendant.

       This the 8th day of March, 2018.


                                                             s/ S. Thomas Anderson
                                                             Honorable S. Thomas Anderson
                                                             Chief United States District Judge
